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 The following constitutes the ruling of the court and has the force and effect therein described.


 Signed January 21, 2022
                                            United States Bankruptcy Judge
______________________________________________________________________


BTXN 163 (rev. 05/16)
                                      UNITED STATES BANKRUPTCY COURT
                                        NORTHERN DISTRICT OF TEXAS


In Re:                                                        §
Mukki LLC                                                     §    Case No.: 11−32602−hdh7
                                                              §    Chapter No.: 7
                                           Debtor(s)          §


                        ORDER AUTHORIZING PAYMENT OF UNCLAIMED FUNDS
      At Dallas , Texas, in said District, came on to be considered the Application For Payment Of Unclaimed Funds
by:

      NAME:                            Dilks & Knopik, LLC as assignee to Echols Glass & Mirror
      MAILING ADDRESS:                 35308 SE Center St.
                                       Snoqualmie, WA 98065

      Claimant, for payment of unclaimed funds in the amount of $5,647.39.

      It appearing to the Court that the said claimant is entitled to receive payment in the amount stated above, and

      that said funds are now on deposit in the United States Treasury, and

      that notice of the Application was given to the United States Attorney, and

      that no objection to the Application has been filed, it is

     ORDERED that the Clerk of Court direct issuance of a draft upon the United States Treasury in the amount
stated above, payable to this claimant.

                                                  # # # End of Order # # #
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                                                                United States Bankruptcy Court
                                                                  Northern District of Texas
In re:                                                                                                                   Case No. 11-32602-hdh
Mukki LLC                                                                                                                Chapter 7
       Debtor
                                                      CERTIFICATE OF NOTICE
District/off: 0539-3                                                    User: admin                                                                 Page 1 of 7
Date Rcvd: Jan 21, 2022                                                 Form ID: pdf012                                                            Total Noticed: 1
The following symbols are used throughout this certificate:
Symbol          Definition
+                  Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                   regulations require that automation-compatible mail display the correct ZIP.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on Jan 23, 2022:
NONE
Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI). Electronic transmission is in Eastern
Standard Time.
Recip ID                  Notice Type: Email Address                                      Date/Time                 Recipient Name and Address
cr                      + Email/Text: cmecf@dilksknopik.com
                                                                                          Jan 21 2022 21:29:00      Dilks & Knopik, LLC, Dilks & Knopik, LLC,
                                                                                                                    35308 SE Center St., Snoqualmie, WA
                                                                                                                    98065-9216

TOTAL: 1


                                                        BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
Recip ID           Bypass Reason Name and Address
                                 Aldine Independent School District

TOTAL: 1 Undeliverable, 0 Duplicate, 0 Out of date forwarding address


                                                       NOTICE CERTIFICATION
I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: Jan 23, 2022                                             Signature:            /s/Joseph Speetjens




                                    CM/ECF NOTICE OF ELECTRONIC FILING
The following persons/entities were sent notice through the court's CM/ECF electronic mail (Email) system on January 21, 2022 at the address(es) listed
below:
Name                                Email Address
Annie E. Catmull
                                    on behalf of Creditor Oldcastle BuildingEnvelope aec@sandersmcgarvey.com
                                    bb@sandersmcgarvey.com;acatmull@ecf.courtdrive.com;rpp@sandersmcgarvey.com

Bradley Roland Foxman
                                    on behalf of Attorney Vinson & Elkins LLP bfoxman@velaw.com

Bradley Roland Foxman
                                    on behalf of Trustee Scott M. Seidel bfoxman@velaw.com
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Date Rcvd: Jan 21, 2022                                       Form ID: pdf012                                                       Total Noticed: 1
Bradley Roland Foxman
                             on behalf of Interested Party Scott M. Seidel bfoxman@velaw.com

Brian J. Smith
                             on behalf of Creditor Bank of America N.A. brian.smith@hklaw.com, robert.jones@hklaw.com;brent.mcilwain@hklaw.com

Brian Jacob Dilks
                             cmecf@dilksknopik.com dilksknopik@ecf.courtdrive.com

Brian P. Sanford
                             on behalf of Creditor Flores Technical Services Inc. bsanford@sanfordfirm.com

Camisha Lashun Simmons
                             on behalf of Debtor Tayo Inc. camisha@simmonslegal.solutions

Camisha Lashun Simmons
                             on behalf of Debtor Mukki LLC camisha@simmonslegal.solutions

Camisha Lashun Simmons
                             on behalf of Debtor BarleySammy Inc. camisha@simmonslegal.solutions

Camisha Lashun Simmons
                             on behalf of Debtor VVP Funding Corporation camisha@simmonslegal.solutions

Camisha Lashun Simmons
                             on behalf of Debtor VVP Finance Corporation camisha@simmonslegal.solutions

Camisha Lashun Simmons
                             on behalf of Debtor VVP Holdings LLC camisha@simmonslegal.solutions

Cassandra Ann Shoemaker
                             on behalf of Creditor Vitro Vidrio y Cristal S.A. de C.V. cassandra.shoemaker@tklaw.com dannette.johnson@tklaw.com

Cassandra Ann Shoemaker
                             on behalf of Creditor Vitro Automotriz S.A. de C.V. cassandra.shoemaker@tklaw.com dannette.johnson@tklaw.com

Cassandra Ann Shoemaker
                             on behalf of Creditor Vitro Packaging LLC cassandra.shoemaker@tklaw.com, dannette.johnson@tklaw.com

Cassandra Ann Shoemaker
                             on behalf of Creditor Vidriera Monterrey S.A. de C.V. cassandra.shoemaker@tklaw.com dannette.johnson@tklaw.com

Cassandra R. Burton
                             on behalf of Creditor Pension Benefit Guaranty Corporation burton.cassandra@pbgc.gov efile@pbgc.gov

City of Denton
                             kforson@dentonlawyer.com

David Bennett
                             on behalf of Creditor Vitro S.A.B de C.V. david.bennett@hklaw.com,
                             gracie.gonzales@hklaw.com;Chris.Bailey@hklaw.com;hope.daniels@hklaw.com

David C. Alford
                             on behalf of Creditor Central National Bank Waco, TX alford@pakislaw.com

David C. Alford
                             on behalf of Creditor Bernard Rapoport alford@pakislaw.com

Dustin Lowe Banks
                             on behalf of Creditor Carrollton-Farmers Branch ISD dbanks@pbfcm.com rgleason@pbfcm.com;dbanks@ecf.inforuptcy.com

Eboney D. Cobb
                             on behalf of Creditor Valwood Improvment Authority ecobb@pbfcm.com ecobb@pbfcm.com;ecobb@ecf.inforuptcy.com

Elizabeth Weller
                             on behalf of Creditor Dallas County Dora.Casiano-Perez@lgbs.com dallas.bankruptcy@lgbs.com

Elizabeth Weller
                             on behalf of Creditor City of Memphis TN Dora.Casiano-Perez@lgbs.com dallas.bankruptcy@lgbs.com

Elizabeth Weller
                             on behalf of Creditor Tarrant County Dora.Casiano-Perez@lgbs.com dallas.bankruptcy@lgbs.com

Elizabeth Weller
                             on behalf of Creditor Grayson County Dora.Casiano-Perez@lgbs.com dallas.bankruptcy@lgbs.com

Elizabeth Nicolle Boydston
                             on behalf of Debtor VVP Holdings LLC lboydston@polsinelli.com, dandreacchi@polsinelli.com

Garrick Chase Smith
                             on behalf of Attorney Vinson & Elkins LLP gsmith@velaw.com

Garrick Chase Smith
         Case 11-32602-hdh7 Doc 1036 Filed 01/23/22                            Entered 01/23/22 23:14:54                         Page 4 of 8
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                          on behalf of Trustee Scott M. Seidel gsmith@velaw.com

George Harold Lerew
                          on behalf of Creditor WICHITA FALLS CITY ISD & WICHITA CO hbky@pbfcm.com, hlerew@ecf.inforuptcy.com

Gina D. Shearer
                          on behalf of Creditor International Fidelity Insurance Company gina.shearer@clarkhillstrasburger.com
                          teresa.barrera@clarkhillstrasburger.com;emory.allen@clarkhillstrasburger.com

Gregory Alan Whittmore
                          on behalf of Creditor Teamsters Local No. 455 kearsage@msn.com

J. Christopher Shore
                          on behalf of Petitioning Creditor Davidson Kempner Distressed Opportunities Fund LP cshore@whitecase.com

J. Christopher Shore
                          on behalf of Creditor Knighthead Master Fund L.P. cshore@whitecase.com

J. Christopher Shore
                          on behalf of Petitioning Creditor Brookville Horizons Fund L.P cshore@whitecase.com

J. Christopher Shore
                          on behalf of Petitioning Creditor Lord Abbett Bond-Debenture Fund Inc. cshore@whitecase.com

J. Christopher Shore
                          on behalf of Petitioning Creditor Knighthead Master Fund L.P. cshore@whitecase.com

J. Christopher Shore
                          on behalf of Creditor Davidson Kempner Distressed Opportunities Fund LP cshore@whitecase.com

J. Christopher Shore
                          on behalf of Creditor Lord Abbett Bond-Debenture Fund Inc. cshore@whitecase.com

J. Christopher Shore
                          on behalf of Creditor Brookville Horizons Fund L.P cshore@whitecase.com

Jeff P. Prostok
                          on behalf of Petitioning Creditor Knighthead Master Fund L.P. jprostok@forsheyprostok.com,
                          jjones@forsheyprostok.com;tlevario@forsheyprostok.com;calendar@forsheyprostok.com;calendar_0573@ecf.courtdrive.com;jpr
                          ostok@ecf.courtdrive.com

Jeff P. Prostok
                          on behalf of Petitioning Creditor Davidson Kempner Distressed Opportunities Fund LP jprostok@forsheyprostok.com
                          jjones@forsheyprostok.com;tlevario@forsheyprostok.com;calendar@forsheyprostok.com;calendar_0573@ecf.courtdrive.com;jpr
                          ostok@ecf.courtdrive.com

Jeff P. Prostok
                          on behalf of Petitioning Creditor Lord Abbett Bond-Debenture Fund Inc. jprostok@forsheyprostok.com,
                          jjones@forsheyprostok.com;tlevario@forsheyprostok.com;calendar@forsheyprostok.com;calendar_0573@ecf.courtdrive.com;jpr
                          ostok@ecf.courtdrive.com

Jeff P. Prostok
                          on behalf of Creditor Knighthead Master Fund L.P. jprostok@forsheyprostok.com,
                          jjones@forsheyprostok.com;tlevario@forsheyprostok.com;calendar@forsheyprostok.com;calendar_0573@ecf.courtdrive.com;jpr
                          ostok@ecf.courtdrive.com

Jeff P. Prostok
                          on behalf of Creditor Lord Abbett Bond-Debenture Fund Inc. jprostok@forsheyprostok.com,
                          jjones@forsheyprostok.com;tlevario@forsheyprostok.com;calendar@forsheyprostok.com;calendar_0573@ecf.courtdrive.com;jpr
                          ostok@ecf.courtdrive.com

Jeff P. Prostok
                          on behalf of Creditor Ad Hoc Group of Vitro Noteholders jprostok@forsheyprostok.com
                          jjones@forsheyprostok.com;tlevario@forsheyprostok.com;calendar@forsheyprostok.com;calendar_0573@ecf.courtdrive.com;jpr
                          ostok@ecf.courtdrive.com

Jeff P. Prostok
                          on behalf of Petitioning Creditor Brookville Horizons Fund L.P jprostok@forsheyprostok.com,
                          jjones@forsheyprostok.com;tlevario@forsheyprostok.com;calendar@forsheyprostok.com;calendar_0573@ecf.courtdrive.com;jpr
                          ostok@ecf.courtdrive.com

Jeff P. Prostok
                          on behalf of Creditor Davidson Kempner Distressed Opportunities Fund LP jprostok@forsheyprostok.com
                          jjones@forsheyprostok.com;tlevario@forsheyprostok.com;calendar@forsheyprostok.com;calendar_0573@ecf.courtdrive.com;jpr
                          ostok@ecf.courtdrive.com

Jeff P. Prostok
                          on behalf of Creditor Wilmington Trust National Association jprostok@forsheyprostok.com,
                          jjones@forsheyprostok.com;tlevario@forsheyprostok.com;calendar@forsheyprostok.com;calendar_0573@ecf.courtdrive.com;jpr
                          ostok@ecf.courtdrive.com

Jeff P. Prostok
                          on behalf of Creditor Brookville Horizons Fund L.P jprostok@forsheyprostok.com,
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                          jjones@forsheyprostok.com;tlevario@forsheyprostok.com;calendar@forsheyprostok.com;calendar_0573@ecf.courtdrive.com;jpr
                          ostok@ecf.courtdrive.com

John K. Cunningham
                          on behalf of Creditor Knighthead Master Fund L.P. jcunningham@whitecase.com

John K. Cunningham
                          on behalf of Petitioning Creditor Davidson Kempner Distressed Opportunities Fund LP jcunningham@whitecase.com

John K. Cunningham
                          on behalf of Petitioning Creditor Brookville Horizons Fund L.P jcunningham@whitecase.com

John K. Cunningham
                          on behalf of Creditor Lord Abbett Bond-Debenture Fund Inc. jcunningham@whitecase.com

John K. Cunningham
                          on behalf of Creditor Davidson Kempner Distressed Opportunities Fund LP jcunningham@whitecase.com

John K. Cunningham
                          on behalf of Petitioning Creditor Lord Abbett Bond-Debenture Fund Inc. jcunningham@whitecase.com

John K. Cunningham
                          on behalf of Petitioning Creditor Knighthead Master Fund L.P. jcunningham@whitecase.com

John K. Cunningham
                          on behalf of Creditor Brookville Horizons Fund L.P jcunningham@whitecase.com

Josephine Garrett
                          on behalf of Creditor International Painters & Allied Trades Industry Pension Fund filing@jgarrettlaw.com

Karl Burrer
                          on behalf of Creditor Grayco Lui Museum Investment 2006 LP burrerk@gtlaw.com, jamrokg@gtlaw.com

Karl Burrer
                          on behalf of Creditor Grayco Builders LLC burrerk@gtlaw.com, jamrokg@gtlaw.com

Larry Alan Levick
                          on behalf of Creditor James and Terry Grapevine levick@singerlevick.com
                          scotton@singerlevick.com;tguillory@singerlevick.com

Laurie A. Spindler
                          on behalf of Creditor Grayson County Laurie.Spindler@lgbs.com Dora.Casiano-Perez@lgbs.com;dallas.bankruptcy@lgbs.com

Laurie A. Spindler
                          on behalf of Creditor City of Memphis TN Laurie.Spindler@lgbs.com
                          Dora.Casiano-Perez@lgbs.com;dallas.bankruptcy@lgbs.com

Laurie A. Spindler
                          on behalf of Creditor Dallas County Laurie.Spindler@lgbs.com Dora.Casiano-Perez@lgbs.com;dallas.bankruptcy@lgbs.com

Lisa Laura Lambert
                          on behalf of U.S. Trustee United States Trustee lisa.l.lambert@usdoj.gov

Louis R. Strubeck, Jr.
                          on behalf of Debtor Tayo Inc. louis.strubeck@nortonrosefulbright.com lou-strubeck-6142@ecf.pacerpro.com

Louis R. Strubeck, Jr.
                          on behalf of Alleged Debtor VVP Holdings LLC louis.strubeck@nortonrosefulbright.com, lou-strubeck-6142@ecf.pacerpro.com

Louis R. Strubeck, Jr.
                          on behalf of Debtor Mukki LLC louis.strubeck@nortonrosefulbright.com lou-strubeck-6142@ecf.pacerpro.com

Louis R. Strubeck, Jr.
                          on behalf of Debtor VVP Finance Corporation louis.strubeck@nortonrosefulbright.com lou-strubeck-6142@ecf.pacerpro.com

Louis R. Strubeck, Jr.
                          on behalf of Debtor BarleySammy Inc. louis.strubeck@nortonrosefulbright.com lou-strubeck-6142@ecf.pacerpro.com

Lynda L. Lankford
                          on behalf of Petitioning Creditor Knighthead Master Fund L.P. llankford@forsheyprostok.com,
                          jjones@forsheyprostok.com;calendar@forsheyprostok.com;calendar_0573@ecf.courtdrive.com;llankford@ecf.courtdrive.com

Lynda L. Lankford
                          on behalf of Creditor Lord Abbett Bond-Debenture Fund Inc. llankford@forsheyprostok.com,
                          jjones@forsheyprostok.com;calendar@forsheyprostok.com;calendar_0573@ecf.courtdrive.com;llankford@ecf.courtdrive.com

Lynda L. Lankford
                          on behalf of Petitioning Creditor Davidson Kempner Distressed Opportunities Fund LP llankford@forsheyprostok.com
                          jjones@forsheyprostok.com;calendar@forsheyprostok.com;calendar_0573@ecf.courtdrive.com;llankford@ecf.courtdrive.com

Lynda L. Lankford
                          on behalf of Creditor Knighthead Master Fund L.P. llankford@forsheyprostok.com,
                          jjones@forsheyprostok.com;calendar@forsheyprostok.com;calendar_0573@ecf.courtdrive.com;llankford@ecf.courtdrive.com
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Lynda L. Lankford
                          on behalf of Petitioning Creditor Lord Abbett Bond-Debenture Fund Inc. llankford@forsheyprostok.com,
                          jjones@forsheyprostok.com;calendar@forsheyprostok.com;calendar_0573@ecf.courtdrive.com;llankford@ecf.courtdrive.com

Lynda L. Lankford
                          on behalf of Creditor Davidson Kempner Distressed Opportunities Fund LP llankford@forsheyprostok.com
                          jjones@forsheyprostok.com;calendar@forsheyprostok.com;calendar_0573@ecf.courtdrive.com;llankford@ecf.courtdrive.com

Lynda L. Lankford
                          on behalf of Petitioning Creditor Brookville Horizons Fund L.P llankford@forsheyprostok.com,
                          jjones@forsheyprostok.com;calendar@forsheyprostok.com;calendar_0573@ecf.courtdrive.com;llankford@ecf.courtdrive.com

Lynda L. Lankford
                          on behalf of Creditor Brookville Horizons Fund L.P llankford@forsheyprostok.com,
                          jjones@forsheyprostok.com;calendar@forsheyprostok.com;calendar_0573@ecf.courtdrive.com;llankford@ecf.courtdrive.com

Mark A. Burroughs
                          on behalf of Creditor City of Denton cdefee@dentonlawyer.com

Mark A. Burroughs
                          on behalf of Creditor Denton Independent School District cdefee@dentonlawyer.com

Matthew Gold
                          on behalf of Creditor Argo Partners courts@argopartners.net

Michael Burns
                          on behalf of Creditor Santa Rosa County Federal Credit Union burnslaw@outlook.com

Michael Benton Willey
                          on behalf of Creditor Tennessee Department of Revenue agbanktexas@ag.tn.gov michael.willey@ag.tn.gov

Michael Edward Collins
                          on behalf of Creditor International Fidelity Insurance Company mcollins@manierherod.com rmiller@manierherod.com

Michael R. Bell
                          on behalf of Creditor State of Michigan Department of Treasury bellM1@michigan.gov

Michael Scott Held
                          on behalf of Creditor Jackson Walker LLP mheld@jw.com lcrumble@jw.com

Michelle E. Shriro
                          on behalf of Creditor RR & C Development Company mshriro@singerlevick.com
                          scotton@singerlevick.com;tguillory@singerlevick.com

Rebecca Lynn Petereit
                          on behalf of Trustee Scott M. Seidel rpetereit@velaw.com dtucker@velaw.com;gsmith@velaw.com

Richard S. Kebrdle
                          on behalf of Petitioning Creditor Lord Abbett Bond-Debenture Fund Inc. rkebrdle@whitecase.com

Richard S. Kebrdle
                          on behalf of Petitioning Creditor Davidson Kempner Distressed Opportunities Fund LP rkebrdle@whitecase.com

Richard S. Kebrdle
                          on behalf of Creditor Davidson Kempner Distressed Opportunities Fund LP rkebrdle@whitecase.com

Richard S. Kebrdle
                          on behalf of Petitioning Creditor Knighthead Master Fund L.P. rkebrdle@whitecase.com

Richard S. Kebrdle
                          on behalf of Creditor Brookville Horizons Fund L.P rkebrdle@whitecase.com

Richard S. Kebrdle
                          on behalf of Creditor Knighthead Master Fund L.P. rkebrdle@whitecase.com

Richard S. Kebrdle
                          on behalf of Creditor Lord Abbett Bond-Debenture Fund Inc. rkebrdle@whitecase.com

Richard S. Kebrdle
                          on behalf of Petitioning Creditor Brookville Horizons Fund L.P rkebrdle@whitecase.com

Ryan E. Manns
                          on behalf of Debtor BarleySammy Inc. ryan.manns@nortonrosefulbright.com

Ryan E. Manns
                          on behalf of Debtor VVP Holdings LLC ryan.manns@nortonrosefulbright.com

Ryan E. Manns
                          on behalf of Creditor Vitro Entities ryan.manns@nortonrosefulbright.com

Ryan E. Manns
                          on behalf of Creditor Vitro Packaging LLC ryan.manns@nortonrosefulbright.com
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Ryan E. Manns
                          on behalf of Creditor American Assets Holding Limited ryan.manns@nortonrosefulbright.com

Ryan E. Manns
                          on behalf of Debtor VVP Funding Corporation ryan.manns@nortonrosefulbright.com

Ryan E. Manns
                          on behalf of Debtor VVP Finance Corporation ryan.manns@nortonrosefulbright.com

Ryan E. Manns
                          on behalf of Debtor Tayo Inc. ryan.manns@nortonrosefulbright.com

Ryan E. Manns
                          on behalf of Debtor Mukki LLC ryan.manns@nortonrosefulbright.com

Sarah A. Schultz
                          on behalf of Spec. Counsel Akin Gump Strauss Hauer & Feld LLP sschultz@akingump.com
                          mstamer@akingump.com;afreeman@akingump.com;dkazlow@akingump.com;aqureshi@akingump.com;dkrasa-berstell@akingu
                          mp.com;bkemp@akingump.com;brenda-kemp-7410@ecf.pacerpro.com

Sarah A. Schultz
                          on behalf of Creditor Committee Official Committee of Unsecured Creditors sschultz@akingump.com
                          mstamer@akingump.com;afreeman@akingump.com;dkazlow@akingump.com;aqureshi@akingump.com;dkrasa-berstell@akingu
                          mp.com;bkemp@akingump.com;brenda-kemp-7410@ecf.pacerpro.com

Sarah A. Schultz
                          on behalf of Trustee Scott M. Seidel sschultz@akingump.com
                          mstamer@akingump.com;afreeman@akingump.com;dkazlow@akingump.com;aqureshi@akingump.com;dkrasa-berstell@akingu
                          mp.com;bkemp@akingump.com;brenda-kemp-7410@ecf.pacerpro.com

Scott M. Seidel
                          on behalf of Accountant Sheldon Levy CPA scott.seidel@earthlink.net, susan.seidel@earthlink.net;sms01@trustesolutions.net

Scott M. Seidel
                          on behalf of Trustee Scott M. Seidel scott.seidel@earthlink.net susan.seidel@earthlink.net;sms01@trustesolutions.net

Scott M. Seidel
                          scott.seidel@earthlink.net susan.seidel@earthlink.net;sms01@trustesolutions.net

Scott M. Seidel
                          on behalf of Spec. Counsel Seidel Law Firm scott.seidel@earthlink.net susan.seidel@earthlink.net;sms01@trustesolutions.net

Stephen Wilcox
                          on behalf of Creditor Calvary Motors Inc. kraudry@wilcoxlaw.net,
                          swilcoxndtx@basselwilcox.com;krw77@sbcglobal.net;kraudry@ecf.inforuptcy.com

Stephen Andrew Melendi
                          on behalf of Attorney Stephen A. Melendi-Tollefson Bradley Mitchell & Melendi LLP stephenm@tbmmlaw.com,
                          doraO@tbmmlaw.com;claudiav@tbmmlaw.com;chrisg@tbmmlaw.com

Stephen Gerald Murphy
                          on behalf of Creditor Massachusetts Department of Revenue Bankruptcy Unit, murphys@dor.state.ma.us

Thomas R. Fawkes
                          on behalf of Creditor PGW Auto Glass LLC tfawkes@freeborn.com, brittany.falkner@tuckerellis.com

Timothy Andrew York
                          on behalf of Creditor Besana-Lovati Inc. tyork@qslwm.com, nchancellor@qslwm.com

United States Trustee
                          ustpregion06.da.ecf@usdoj.gov

Vickie L. Driver
                          on behalf of Interested Party Gregory Eller Vickie.Driver@crowedunlevy.com
                          elisa.weaver@crowedunlevy.com;ecf@crowedunlevy.com

Vickie L. Driver
                          on behalf of Interested Party Lura Aleya Vickie.Driver@crowedunlevy.com
                          elisa.weaver@crowedunlevy.com;ecf@crowedunlevy.com

Vickie L. Driver
                          on behalf of Interested Party Karen Merritt Vickie.Driver@crowedunlevy.com
                          elisa.weaver@crowedunlevy.com;ecf@crowedunlevy.com

William R Greendyke
                          on behalf of Debtor BarleySammy Inc. william.greendyke@nortonrosefulbright.com

William R Greendyke
                          on behalf of Creditor American Assets Holding Limited william.greendyke@nortonrosefulbright.com

William R Greendyke
                          on behalf of Debtor Tayo Inc. william.greendyke@nortonrosefulbright.com
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William R Greendyke
                          on behalf of Debtor Mukki LLC william.greendyke@nortonrosefulbright.com

William R Greendyke
                          on behalf of Debtor VVP Finance Corporation william.greendyke@nortonrosefulbright.com

William R Greendyke
                          on behalf of Debtor VVP Funding Corporation william.greendyke@nortonrosefulbright.com

William R Greendyke
                          on behalf of Alleged Debtor VVP Holdings LLC william.greendyke@nortonrosefulbright.com


TOTAL: 131
